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                           Exhibit C
     Case 2:12-md-02311-SFC-RSW ECF No. 2060-5 filed 06/18/20                                                         PageID.37777                Page 2 of
                                           2

Jeffrey N. Leibell

From:                        Robin Niemiec
Sent:                        Wednesday, November 14, 2018 3:10 PM
To:                          Adam J. Zapala (azapala@cpmlegal.com); Marc M. Seltzer (mseltzer@SusmanGodfrey.com); Hollis
                             Salzman (HSalzman@RobinsKaplan.com)
Cc:                          Jeffrey N. Leibell
Subject:                     Auto Parts Indirect Class Action - Insurer Class Members


Dear Counsel:

FRS has been retained by, among other automotive parts purchasers, AIG, WR Berkley, MAPFRE Insurance and Utica
National Insurance Group to file and manage their claims to participate in the recoveries provided by the End Purchaser
Settlements of the Automotive Parts Antitrust Litigation. We have already filed “placeholder” claims for each of those
insurers and are working with them now to collect the data necessary to supplement those claim forms. However, and
as we’re sure you can imagine given the volume of eligible new and leased automobiles that they insured and that were
deemed a total loss from 1995 through 2018, as well as the eligible parts that they purchased for their insureds during
that 23‐year period, the task of collecting that data is substantial and time consuming. In an effort to address now any
data collection issues that may exist so that the process is more efficient, both for our clients and for the claims
administrator, we would like to have a meeting or conference call with one or more of you, as you prefer, to discuss our
approach. We are available Tuesday, November 27 between 11 and 2 EST and Wednesday, November 28 between 9 and
2 EST. Please let us know if any of those dates/times are convenient, or, if not, please provide alternative dates/times.

We look forward to hearing from you.

Thank you,
Robin

Robin Niemiec
Executive Vice President Operations
561.231.5332 | rniemiec@frsco.com | LinkedIn


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                 80 Wesley Street, South Hackensack, NJ 07606
                 201.853.0300 Main | 201.853.0301 Fax | www.FRSCO.com
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Class members may always file claims on their own without retaining FRS, and may contact class counsel and the claims administrator for information about a
settlement and for claims filing assistance. FRS, if retained, works on an agreed‐upon contingent commission basis.




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